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                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,                          §
                                                     §
       Plaintiff,                                    §
                                                     §       2:15-cv-01174-JRG-RSP
v.                                                   §
                                                     §
CIGNA CORPORATION ET AL.                             §
                                                     §
       Defendants.                                   §

               UNOPPOSED MOTION TO DISMISS CIGNA CORPORATION
                            WITHOUT PREJUDICE

        COMES NOW, Plaintiff Symbology Innovations, LLC and files this Unopposed Motion

 to Dismiss Defendant Cigna Corporation and respectfully moves the Court to dismiss Defendant

 Cigna Corporation without prejudice.

        1.      On June 30, 2015 Plaintiff filed suit against Defendants Cigna Corporation,

                Cigna Health and Life Insurance Company and Cigna Dental Health, Inc. for

                infringement of United States Patents No. 8,424,752, No. 8,651,369, and No.

                8,936,190 (hereinafter "the '752 Patent," "the '369 Patent," and "the '190

                Patent").

        2.      The parties have worked in good faith to resolve the issues raised by

                Defendant, Cigna Corporation, regarding the proper party to this action.

        3.      Plaintiff’s complaint lists Cigna Corporation as a Defendant in this action.

        4.      Cigna Health and Life Insurance Company and Cigna Dental Health, Inc.

                represent that, as best as they presently understand the allegations in

                Plaintiff’s complaint, they are the real parties in interest with respect to the

                products accused in Plaintiff’s complaint (Dkt. No. 1). For purposes of this
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             case only and only with respect to the allegations Plaintiff’s complaint (Dkt.

             No. 1), Cigna Health and Life Insurance Company and Cigna Dental Health,

             Inc. agree not to argue that Plaintiff should have brought its claim against

             Cigna Corporation for any purpose.

       5.    The parties agreed that the dismissal of Cigna Corporation is without prejudice

             to later adding it back in this case should Plaintiff subsequently learn that

             Cigna Corporation makes, uses, sells, offers or offers to sell any product or

             service covered by Plaintiff’s asserted claims and act upon such knowledge

             with reasonable diligence under the circumstances.

       6.    Plaintiff Symbology Innovations, LLC moves to dismiss Cigna Corporation

             from this case.

       7.    Defendant does not oppose this motion.

       8.    This Motion is not sought for the purposes of delay, but to ensure that the

             correct parties are properly joined to this action.
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Dated: October 14, 2015                          Respectfully submitted,


                                                 /s/ Jay Johnson
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                                                 ATTORNEYS FOR PLAINTIFF



                                  CERTIFICATE OF CONFERENCE

Pursuant to Local Court Rule CV-7(i), I certify that on October 14, 2015, Jay Johnson, counsel for Plaintiff
Symbology Innovations, LLC, conferred with Ricardo Bonilla, counsel for Defendant, Cigna Corporation
regarding this Motion and Mr. Bonilla does not oppose this motion.


                                                 /s/ Jay Johnson
                                                 Jay Johnson




                                     CERTIFICATE OF SERVICE

The undersigned certifies that all counsel of record who have consented to electronic service are being
served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3)(A) on
October 14, 2015.

                                                 /s/ Jay Johnson
                                                 Jay Johnson
